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         U.S. Department of Justice                                                         Report of Investigation
         Bureau of Alcohol, Tobacco, Firearms and Explosives


         Title of Investigation:                                                                         Investigation Number:    Report Number:
         B       Kidnapping Conspiracy                                                                                                         1




         SUMMARY OF EVENT:
         CASE OPENING ROI: BIRD KIDNAPPING CONSPIRACY:
         In January 2020, ATF Special Agent (SA) Hurt was provided information during an interview of L
         W         that a male identified as   B was kidnapped after stealing a Jeep Liberty owned by T
                    G          and B         J . B was identified as Alexandria Dodge’s husband during the
         incident. B was assaulted with a hammer according to W        . On January 28, 2021, SAs Hurt and
         Sutara interviewed B with his cousin, E B           reference the incident which occurred on
         December 18, 2019 through December 19, 2019. The following is a synopsis of the interview.

         NARRATIVE:
            1. On January 9, 2020, SAs Hurt and Wickwire conducted a custodial interview of L
                W            while she incarcerated at the Genesee County Jail in reference to ATF Flint Case
                                                              . During the interview, W         explained,
                B is Alexandria Nicole DODGE’s (w/f               1991) husband.       B was kidnapped by a
                couple named Tim and Rebecca of whom were the owners of a Jeep Liberty that B stole.
                W            added, Tim and Rebecca kidnapped B and hit him over the head with a hammer
                as well as his hands for stealing their vehicle.

                  2. On January 28, 2021, SAs Hurt and Sutara had an opportunity to interview                  B
                                 1986) along with his cousin E        B                        /1978). The interview
                      was non-custodial and recorded at the ATF Flint Office. The following is a synopsis of the
                      interview:

                              B      advised he is legally married to DODGE but they have been separated for two
                                years. The two lived in Florida together but returned. When they came back to Michigan
                                DODGE became addicted to methamphetamine.

                              B          explained, he stole a Jeep Liberty from Tim            G
                                         1977) and B             J                 1986) for DODGE and her then boyfriend
                                    St      Bu                           .B      added, he dropped the Jeep Liberty off to
                                    DODGE at an address on Ann Arbor Street in Flint, MI after speaking with her
                                    reference the stolen vehicle on Facebook Messenger. DODGE and Bu              then dropped
                                    him off in a different vehicle at a residence on Hughes Street in Flint, MI. B
                                    advised, once he was dropped off he went to sleep inside of an enclosed porch of a blue
                                    house two houses away from a Tattoo Shop (the address is unknown at this time).

Prepared by:                                          Title:                                            Signature:                     Date:
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                     B         was awakened with G                 ,J        ,N              C
                                1993, D                H                       1986), and B        W
                                                  standing around him inside the enclosed porch screaming about
                          the stolen vehicle. G               showed B       a phone with screenshot messages
                          between B       and DODGE about stealing the Jeep Liberty for her. Someone in the
                          group then hit B      in the head with claw end of a hammer (he showed SA Hurt the
                          scars which was consistent). The group then let B         make a call to his brother,
                          A                   H                          /1968) before “stuffing” him (B        into
                          the backseat of a red Pontiac Vibe with a bag over his head. They left and drove to
                          H            S’ residence where B        was pulled from the vehicle and the group
                          began beating B       in front of H             S and his wife (FNU, LNU). H            held
                          a firearm to B     ’s head and asked H              S, “Do you want to watch your brother
                          die?” B       explained he thought the firearm was possibly an AR pistol or Draco
                          because it looked like a rifle with no butt stock. The group then stuffed B       back into
                          the backseat of the red Pontiac Vibe and left.

                     The group took B       into a house on Waldman Ave, later identified as        Waldman
                       Avenue Flint, MI. B       was taken into the basement where the bag was removed from
                       his head. B     was seated in a chair and tied to a pole in the basement where his hands
                       were bound by what B        described as “steel dryer hose.” B      explained, once he
                       was bound the group beat on him for several hours. B         was burned with hot steel, he
                       had cigarettes put out on him, hit with sticks and blunt objects, and believes he was
                       pistol whipped but was unsure because his eyes were swelling shut. B         explained he
                       believed the timeline of the kidnapping and beating to be December 16, 2019 through
                       December 17, 2019.

                     While B    was bound up and being beaten, DODGE contacted a family friend of
                      BIRD, L            W                         1986) via Facebook Messenger advising
                      B     would be released for $400 and the keys to the Jeep Liberty (which she knew was
                      on Ann Arbor). Additionally, DODGE called W                  on her cell phone, while she
                      was with BEA          and his wife, to reiterate that for $400 and the keys to the Jeep
                      Liberty B    would be released by G                 and J

                     Additionally while B        was bound up in the basement of         Waldman, C
                       walked down the stairs with a semi-automatic pistol. C            pointed the pistol at
                       B      ’S head and stated, “I was gonna shoot you…” C             then pulled the trigger
                       against B      ’s head with (presumably) an empty chamber because B            heard the
                       firing pin “click” inside the firearm. It is important to note, B     and BEA            both
                       told this story because C         had BEA           on the phone while this occurred.

                     B       explained DODGE and S                  ST                     1988) set up the
                       whole incident. DODGE and ST                used Facebook Messenger to get B        to
                       steal the JEEP Liberty so they could send G              the screen shots of the
                       conversation in order to collect the $400 ransom. ST           later called BEA


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                          and stated, “I wish I could take credit for this I would have put a bullet in the back of
                          your cousin’s head.”

                     BEA           explained, DODGE could be heard on the phone saying, “You get me my
                       money and keys or I’m going to kill your cousin.” BEA       explained it sounded
                       like the message was being relayed but it was 100% DODGE making the demand.

                     Later into the night of what is believed to be December 17, 2019, B        came to and
                       could not hear anyone in the residence on Waldman. B          was able to free himself
                       from the bindings and went upstairs where he was confronted by one unknown
                       individual. On his way upstairs, B       picked up a loose brick of which he hit the
                       unknown individual with before fleeing the residence to safety. B        advised his eyes
                       were almost swollen shut which is why he did not know who the individual was.

        3. On February 1, 2021, SA Hurt contacted the Genesee County Dispatch Center and requested any
            and all 911 calls made reference                Avenue in mid-December 2019. A 911 call was
            placed on December 18, 2019 by an anonymous caller which advised a group of people were
            observed carrying a potential body behind                 Avenue Flint, MI. The “body” was
            observed being retrieved from a red vehicle the caller identified as a “red wagon type of car.”
            Genesee County Dispatch provided SA Hurt with the event chronology of the call as well which
            is attached. The audio from the 911 call has been made property item #1.

        4. On February 1, 2021, B       provided me with a photograph of himself approximately three to
            five days after the kidnapping and assault. The photograph is pictured below.




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        5. On February 1, 2021, SA Hurt spoke with A         H              on the phone to set up a
            meeting for an interview. H            and his wife, who are both witnesses, are going to
            come to ATF Flint on February 2, 2021 for a recorded interview.

Attachement:
- Genesee County Dispatch Event Chronology.




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